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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------x
UNITED STATES OF AMERICA           :
                                   :
                                   :                 20-cr-188 (JSR)
          -v-                      :
                                   :                 MEMORANDUM ORDER
RUBEN WEIGAND & HAMID AKHAVAN,     :
                                   :
     Defendants.                   :
                                   :
-----------------------------------x

JED S. RAKOFF, U.S.D.J.

     On February 5, 2021, with Court authorization, third party

Circle Internet Financial LLC (“Circle”) moved to quash a subpoena

issued by defendant Ruben Weigand pursuant to Federal Rule of

Criminal Procedure 17(c).           That motion is now fully briefed.            For

the reasons that follow, the motion is granted in part and denied

in part.

                                    BACKGROUND

     The S3 superseding indictment charges defendants Weigand and

Hamid “Ray” Akhavan with conspiracy to commit bank fraud during

the approximate period of 2016 to 2019.                    It alleges that the

defendants and co-conspirators participated in what the Government

calls    a   “transaction      laundering       scheme”   to   trick    banks   into

processing     debit    and    credit    card    transactions     for   marijuana.

Specifically,     the    Government      alleges    that    the   defendants     and

others    conspired     to    set   up   “phony    merchants,”    complete      with

fictitious     websites       and   offshore      bank    accounts,     to   process


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transactions on behalf of Eaze, an online marijuana marketplace.

The phony merchants appeared to sell legitimate products, “such as

carbonated drinks, face cream, dog products, and diving gear.              Yet

. . . these companies were actually being used to facilitate the

approval and processing of marijuana transactions.”               Indictment

¶ 13.    The indictment alleges that the conspirators used the phony

merchants to launder more than $100 million worth of marijuana

transactions.     Indictment ¶ 14.

     Relevantly for present purposes, the indictment alleges that

misrepresentations regarding the phony merchants and their sales

mattered to the issuing banks because “[i]ssuing banks in the

United States generally will not extend credit (i.e., approve)

transactions that involve unlawful activity under federal law,

such as the sale of marijuana.”           Indictment ¶ 11(e).      At trial,

one disputed issue will be the accuracy of this allegation.               To be

sure, it is not seriously disputed that banks maintain policies

against processing transactions involving unlawful activity under

federal law.      But defendants intend to argue that these policies

are pretextual -- designed to protect banks from liability, but

not enforced in practice.           The dispute now before the Court

concerns Weigand’s attempt to acquire evidence on this topic.

                               LEGAL STANDARD

     In contrast to the broad subpoena powers enjoyed by civil

litigants and by the Government, utilizing the grand jury, a


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criminal   defendant     may   not   command   production   of   discovery

materials; rather, the defendant must seek leave of Court before

issuing a subpoena for documents returnable before trial.              See

Fed. R. Crim. P. 17(c).        Rule 17(c) provides, in pertinent part:

     (1) In General.   A subpoena may order the witness to
     produce any books, papers, documents, data, or other
     objects the subpoena designates. The court may direct
     the witness to produce the designated items in court
     before trial or before they are to be offered in
     evidence. When the items arrive, the court may permit
     the parties and their attorneys to inspect all or part
     of them.

     (2) Quashing or Modifying the Subpoena. On motion made
     promptly, the court may quash or modify the subpoena if
     compliance would be unreasonable or oppressive.

     In 1951, the Supreme Court explained that Rule 17(c) permits

a defendant to issue a subpoena to the Government compelling the

production only of “evidence” -- that is, “any material that had

been used before the grand jury or could be used at the trial.”

Id. at 221.   Rule 17(c) did not permit broad “discovery” against

the Government.    Id.    But the fact that the defendant had sought

issuance of subpoenas directed to the Government, rather than to

a third party, was crucial to the Supreme Court’s reasoning.           The

Court pointed out that Federal Rule of Criminal Procedure 16

permits only limited discovery from the Government and inferred

that “[i]t was not intended by Rule 16 to give a limited right of

discovery, and then by Rule 17 to give a right of discovery in the

broadest terms.”   Id. at 220.



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     In 1974, the Supreme Court revisited the issue in the context

of a subpoena issued to a third party, albeit a unique one: former

president Richard Nixon.           Relying upon Bowman, which it called

“[t]he leading case in this Court interpreting” Rule 17(c), the

Supreme Court found that “the Special Prosecutor, in order to carry

his burden [to show entitlement to a Rule 17(c) subpoena], must

clear    three   hurdles:    (1)    relevancy;   (2)   admissibility;     (3)

specificity.”      United States v. Nixon, 418 U.S. 683, 698 (1974).

Nixon, unlike Bowman, concerned a request for a subpoena directed

to a third party.      But on the other hand, the request was made by

the Government, not by the defendant.            Thus, like Bowman, Nixon

did not consider whether, and under what circumstances, Rule 17(c)

might be appropriately used by the defendant to seek discovery

against a third party.       Indeed, the Nixon Court recognized that a

different standard might apply when a subpoena was issued to a

third party, even by the Government:

     The District Court found here that it was faced with the
     more unusual situation where the subpoena, rather than
     being directed to the government by defendants, issues
     to what, as a practical matter, is a third party. The
     Special Prosecutor suggests that the evidentiary
     requirement of Bowman . . . does not apply in its full
     vigor when the subpoena duces tecum is issued to third
     parties rather than to government prosecutors. We need
     not decide whether a lower standard exists because we
     are satisfied that the relevance and evidentiary nature
     of the subpoenaed tapes were sufficiently shown as a
     preliminary matter to warrant the District Court's
     refusal to quash the subpoena.

See id. at 699 n.12 (punctuation omitted).


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     Nevertheless, when confronted with defendants’ requests to

issue a Rule 17(c) subpoena to a third party, courts in this

Circuit generally look to the three factors articulated in Nixon.

See, e.g., United States v. Skelos, No. 1-CR-317 (KMW), 2018 WL

225453, at *1 (S.D.N.Y. May 17, 2018) (“[C]ourts in the Second

Circuit have almost unanimously applied Nixon to subpoenas served

on third-parties[.]”).       But no binding authority requires such a

result.1    In 2019, when an appellant argued that a district court

abused its discretion by quashing a Rule 17(c) subpoena, the Second

Circuit explicitly declined to address whether district courts

must apply Nixon or whether they might instead apply a different

test.    See United States v. Bergstein, 788 F. App'x 742, 746 (2d

Cir. 2019).

     An alternative test was articulated by Judge Scheindlin in

United States v. Tucker, 249 F.R.D. 58 (S.D.N.Y. 2008).                   Judge

Scheindlin explained that the Nixon standard

     is inappropriate where production is requested by (A) a
     criminal defendant; (B) on the eve of trial; (C) from a
     non-party; (D) where the defendant has an articulable
     suspicion that the documents may be material to his
     defense. A defendant in such a situation need only show
     that the request is (1) reasonably construed as
     “material to the defense,” and (2) not unduly oppressive
     for the producing party to respond.




1 The Second Circuit applied the Nixon factors in United States v.
Ulbricht, 858 F.3d 71, 109 (2d Cir. 2017), but that case, like
Bowman, involved a subpoena issued to the Government -- not to a
third party.

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Id. at 66. Put simply, instead of applying Nixon, Judge Scheindlin

went back to basics by requiring defendants to comply with Rule

17(c) itself, which precludes only a subpoena that is “unreasonable

or oppressive.” The Second Circuit in Bergstrein refused to reject

Tucker’s   more    liberal   approach,    leaving   the   question     open.

Bergstein, 788 F. App'x at 746. (“Whether under the Nixon standard

or the standard articulated in           Tucker, we conclude that the

district court did not abuse its discretion in quashing the

subpoenas. The district court may quash a Rule 17(c) subpoena ‘if

compliance would be unreasonable or oppressive.’”) (citing Fed. R.

Crim. P. 17(c)(2)).

     Judge Scheindlin’s approach is more consistent with modern

principles of liberal discovery than Nixon.         Permitting issuance

of reasonable third-party subpoenas to take discovery, even when

a defendant cannot demonstrate in advance that the sought-after

evidence is admissible appropriately aligns criminal discovery

more closely with modern principles of liberal discovery and better

balances the discovery powers of Government and defense.             A more

liberal approach is also more consistent with the text of Rule

17(c) itself.       After all, “[a] subpoena for documents may be

quashed if their production would be ‘unreasonable or oppressive,’

but not otherwise.”      Nixon, 418 U.S. at 698 (quoting Fed. R. Civ.

P. 17(c)(2).      That is the standard this Court will apply.




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                                    ANALYSIS

       Circle argues that the subpoena should be quashed principally

because the documents it seeks are irrelevant.              Circle also argues

that many of the documents are inadmissible hearsay, that public

disclosure of Circle’s confidential information would subject it

to    potential     competitive    harms,    and     that   the   requests      are

insufficiently specific.2         The Court begins with relevance.

     I. Relevance

       In assessing whether the subpoena is “unreasonable,” the

Court must first consider whether it seeks relevant information.

The    defendants     principally      contend     that   the   subpoena   seeks

evidence that would be probative on the question of materiality.

       The    materiality   of    an   alleged     misrepresentations      is   an

element of the charge of bank fraud.                 Because the Government

intends to prove a conspiracy to commit bank fraud, it must prove

beyond        a   reasonable      doubt      the      materiality     of        the

misrepresentations      that the defendants allegedly conspired to

make.        “[A] false statement is material if it has a natural

tendency to influence, or is capable of influencing, the decision


2 The Government likewise asks the Court to quash the subpoena,
principally arguing that the subpoena does not seek relevant
material. The Government cites caselaw to support its contention
that it has standing to move to quash the subpoena in its own
right.   The Court need not decide whether the Government has
standing because Circle, the subpoenant and the movant, has
standing. The Court considers each of the Government’s arguments
in assessing the merits of Circle’s motion.

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of the decisionmaking body to which it was addressed.”                         Neder v.

United States, 527 U.S. 1, 16 (1999) (citation, alteration, and

quotation    marks   omitted).           However,        a     “mere    metaphysical

possibility” of influence is insufficient.                       United States v.

Litvak,     808   F.3d    160,     173    (2d     Cir.       2015).          Rather,    a

misrepresentation is material when it is “reasonably likely to

influence the [decisionmaker] in making a determination required

to be made.”      United States v. Rigas, 490 F.3d at 208, 231 (2d

Cir. 2007) (emphasis added).             Accordingly, a principal question

for the jury will be whether the alleged misrepresentations had a

natural   tendency   to    influence,        or   were       reasonably      likely    to

influence, the banks in deciding whether to process Eaze credit

and debit card transactions.

     To   understand     why     the   defendants    believe          that    Weigand’s

subpoena seeks evidence that bears on materiality, one must first

understand the business relationship between Circle and Eaze.3 The

parties (and Circle) agree that after the period described in the

indictment, despite the fact that the Government pursued this case,

Eaze has continued to permit its customers to purchase marijuana

using credit and debit cards issued by U.S. banks.                      Beginning in

July 2020, Circle has facilitated such payments for Eaze, acting


3 The following facts are drawn from the parties’ briefing and
proffered evidence for present purposes only. At trial, of course,
the parties must substantiate any such claims they intend to make
with admissible evidence.

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as an intermediary between Eaze and the credit card companies.

Circle offers a “payment infrastructure” to companies like Eaze

“whereby online companies can take card and bank transfer payments

for goods or services and receive settlement in USD Coin,” a

cryptocurrency with its value pegged 1:1 to the U.S. dollar.

Allaire Aff., ECF No. 137-3, ¶¶ 3-4.

       Weigand hired a private investigator to initiate a marijuana

purchase on the Eaze platform via Circle.            See Larsen Decl., ECF

No. 142.      Based upon that investigator’s findings and the other

limited evidence before the Court, there is reason to believe that

Circle charges a customer’s debit or credit card for USD Coin in

the    amount   of    the   marijuana   purchase;   credits   Eaze    for   the

purchase, nominally in USD Coin; converts that USD Coin back into

U.S. dollars; and transfers those dollars into Eaze’s account.              In

essence, Circle offers Eaze USD Coin as a fig leaf separating the

issuing bank from Eaze.           But -- and here is defendants’ key

allegation -- Circle does not hide what it is doing from the banks.

When Weigand’s private investigator conducted a test buy, her

credit card statement included the word “Eaze” in the description

of    the   charge.     The   private   investigator’s   bank   had    in   its

possession information tending to show that this charge related to

Eaze.

       Akhavan and Weigand observe that anyone who Googles Eaze --

or anyone familiar with this case -- knows that Eaze is a marijuana


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marketplace.     Given the ease with which a bank could figure out

that Eaze sells marijuana, and the alleged quantity of marijuana

sales consummated by Eaze (tens of millions of dollars annually),

defendants argue that a juror could infer that banks must know

what Eaze and Circle are doing.        The fact that banks nevertheless

process such transactions, like the private investigator’s test

buy, could arguably support an inference that the banks would not

have   cared   about     the   misrepresentations   that   the     defendants

allegedly made.

       To be sure, defendants’ argument requires several inferential

steps, which a jury is free to make or to reject.            All the Court

must here decide is whether defendants’ subpoena seeks relevant

information on this topic.

       The Government principally argues that the victim banks have

policies prohibiting use of their credit and debit cards to make

illegal purchases and that whether banks are effective at enforcing

those policies is beside the point because a victim’s negligence

or ineptitude is no defense to bank fraud.          This is true as far as

it goes, but it misunderstands defendants’ theory.           They intend to

argue not that banks are lackadaisical in their enforcement, but

rather that banks do not care about whether their cardholders are

purchasing marijuana (at least in states where that is legal).             If

defendants     uncover    evidence   sufficient     to   support    such   an

inference, then, at least arguably, a juror might find that the


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alleged misstatements did not have a natural tendency to influence

or a reasonable likelihood of influencing a bank’s decision whether

to process Eaze transactions.4

      For these reasons, the Court finds that the subpoena seeks

relevant materials.5

    II.   Other Objections

      Circle argues that some of the documents sought by the

subpoena are inadmissible hearsay.          While admissibility is the

second Nixon factor, Rule 17(c) does not by its terms require that

a subpoena seek only admissible evidence. A subpoena for evidence,

itself inadmissible, that could lead to the discovery of admissible

evidence, is not necessarily “unreasonable or oppressive.”           In any




4 The Government points out that some Eaze/Circle transactions
might have been for legal products (e.g., rolling paper). If it
turns out that Circle only or primarily processes Eaze transactions
for non-marijuana products, then that could undermine the
materiality argument the defendants are trying to make. But this
proves the defendants’ point: documents responsive to the subpoena
will likely address this issue.

The Government also argues that banks might be willing to process
Circle’s transactions because they are, nominally, purchases of
USD Coin rather than marijuana.     Thus, even if the banks are
knowingly processing marijuana transactions via USD Coin, the
misrepresentations alleged in the indictment still would have been
reasonably likely to influence the banks’ decision whether to
process the transactions at issue in this case.        This is a
reasonable argument that the Government is free to present to the
jury.   This argument does not, however, demonstrate that the
subpoena does not seek relevant material.

5    The Court does not reach defendants’ further argument that
the subpoena seeks evidence relevant to impeachment.

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event, this Court can and will address hearsay objections to

specific documents at the pertinent time.                   At this stage, the

objection is too speculative to support the motion to quash.

     The    same    goes     for   Circle’s      confidentiality        objections.

Circle claims, in general, that disclosure of these documents will

reveal     its   proprietary       methods      and   financial       and    customer

information,       harming    it     and    placing    it    at   a     competitive

disadvantage.      But a protective order is in place to preserve the

confidentiality of such documents until trial.                    And if a party

chooses to offer a Circle exhibit at trial, then the Court will

consider confidentiality objections at that time.

     Finally, Circle argues that the subpoena is insufficiently

specific because it seeks broad categories of documents across a

six-year period.      Here, Circle has a point.          Given the information

before   the     Court,    Circle’s    commercial     relationship          with   Eaze

apparently began in July 2020.             Perhaps it took a few months for

the parties to develop that business relationship before Circle

actually processed its first Eaze payment.                   But the defendants

have failed to offer any reason to believe that Circle has relevant

evidence from before 2020.             For this reason, the Court grants

Eaze’s motion to quash the subpoena insofar as it seeks documents

from prior to January 1, 2020.

     Also, Circle objects that certain categories of documents are

overly   broad,     seeking    all    communications        between     Circle     and


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certain entities.   The Court agrees and grants the motion to quash

with regard to subpoena items number 1 (“Communications between

You and Eaze during the Relevant Time Period . . . .”) and 3

(“Communications between You and any Marijuana Dispensaries during

the Relevant Time Period . . . .”).

     For these reasons, Circle’s motion to quash the subpoena is

granted in part and denied in part.

     SO ORDERED.

Dated:    New York, NY                       _______________________
          February 20, 2021
                                             JED S. RAKOFF, U.S.D.J.




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